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NOT POR PUBLIC VIEW™

( 99
AO 442 (Rev. 11/11) Arrest Warrant

UNITED STATES DISTRICT COURT

for the | un 02 005 |
Southern District of California CLERK. Us Git
‘U.S. DISTRICT CO
fe UTRERN DISTRICT OF CAUFORNIA
United States of America Sess EPUTY
Vv. )
Alejandro MERINO-Lopez GaeNe. Cenyeiye es a
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) Nae
Defendant a
= rp | “
ARREST WARRANT eo
To: — Any authorized law enforcement officer a oS

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested) Alejandro MERINO-Lopez
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment O Superseding Indictment O Information © Superseding Information & Complaint
© Probation Violation Petition © Supervised Release Violation Petition

This offense is briefly described as follows:

Title 8, U.S.C., Section 1326- REMOVED ALIEN FOUND IN THE a STATES
DATE: Seite em
ARRESTED BY: LC 7

U.S. MAR ’

BY:
Date: 05/27/2025

Issuing officer's signature
City and state: San Diego, California Karen S. Crawford, United States Magistrate Judge
Printed name and title
Return
This warrant was received on (date) , and the person was arrested on (date)

at (city and state)

Date:

Arresting officer’s signature

Printed name and title

